                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:09-cr-00013-MR-9


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
YVONNE MARIE FOUNTAIN,          )
                                )
                   Defendant.   )
_______________________________ )

        THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion requesting the production of the docket sheet

and a copy of her grand jury transcript at the Government’s expense. [Doc.

861].

        The Defendant was found guilty by a jury of one count of conspiracy to

possess with intent to distribute a quantity of cocaine base, in violation of 21

U.S.C. §§ 846 and 841(a)(1). [Doc. 297]. She was sentenced in August

2009 to a term of 240 months’ imprisonment. [Doc. 349]. The Fourth Circuit

Court of Appeals affirmed her conviction and sentence in March 2011. [Doc.

589]. The Defendant filed a motion to vacate pursuant to 28 U.S.C. § 2255.

[Doc. 638]. The Court initially denied the Defendant’s motion to vacate [Doc.

789], but the Court subsequently vacated that order upon remand from the


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Fourth Circuit. [Doc. 789]. At the Government’s request, the Court held an

evidentiary hearing on the Defendant’s motion to vacate. In October 2016,

the Court entered an Order denying the Defendant’s motion to vacate. [Doc.

837]. The Fourth Circuit denied a certificate of appealability and dismissed

the Defendant’s appeal on May 31, 2017. [Doc. 860].

     There are no post-conviction matters pending before the Court. As

such, the Court finds that the Defendant has failed to demonstrate a

particularized need for the requested transcript.     See United States v.

MacCollom, 426 U.S. 317, 326-27 (1976) (holding that federal inmates are

not entitled to transcripts at Government expense absent some showing of

a particularized need); Jones v. Superintendent, Va. State Farm, 460 F.2d

150, 152 (4th Cir. 1972) (“[A]n indigent is not entitled to a transcript at

government expense without a showing of the need, merely to comb the

record in the hope of discovering some flaw.”) (citation omitted). Having

failed to demonstrate a particularized need for the requested transcript, the

Defendant’s motion must be denied. The Court will, however, direct the

Clerk to provide the Defendant with a copy of the docket sheet.

     IT IS, THEREFORE, ORDERED that the Defendant’s letter [Doc. 861],

which the Court construes as a motion for the production of the docket sheet


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and the grand jury transcript at the Government’s expense, is GRANTED IN

PART and DENIED IN PART. Specifically, the Defendant’s request for a

copy of the grand jury transcript at the Government’s expense is DENIED.

The Defendant’s request for a copy of the docket sheet is GRANTED. The

Clerk of Court shall provide a copy of the Defendant’s docket sheet along

with this Order.

      IT IS SO ORDERED.
                               Signed: June 6, 2017




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